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 1   BENJAMIN B. WAGNER
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 2   Elana S. Landau
     Assistant U.S. Attorney
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 4   Telephone: (559) 497-4083
 5

 6                   IN THE UNITED STATES DISTRICT COURT
 7                 FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9   UNITED STATES OF AMERICA,        )        CASE NO. 1:12-CR-284
                                      )
10                   Plaintiff,       )
                                      )
11        v.                          )        STIPULATION AND    ORDER
                                      )
12   APOLINAR VERDUZCO-MEDINA,        )
                                      )
13                                    )
                    Defendant.        )
14   ______________________________
15

16        The parties request that this matter be advanced as to this
17   defendant only to December 10, 2012 at 10:00am before the
18   Honorable Judge Anthony W. Ishii for change of plea.         The status
19   conference currently set for December 17, 2012 at 1:00p.m will
20   remain as to the co-defendant.
21                                            Respectfully Submitted,
22                                            BENJAMIN B. WAGNER
                                              United States Attorney
23

24   DATE: December 7, 2012           By:      /s/ Elana S. Landau
                                              Elana S. Landau
25                                            Assistant U.S. Attorney
26
     DATE: December 7, 2012                    /s/ Anthony P. Capozzi
27                                            ANTHONY P. CAPOZZI
                                              Attorney for Defendant
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 2   IT IS SO ORDERED.
 3
     Dated:      December 7, 2012
 4   0m8i78
 5                                      UNITED STATES DISTRICT JUDGE

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